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                       UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
 ____________________________________
                                      :
 In Re: AUTOMOTIVE PARTS              : Master File No. 12-md-02311
 ANTITRUST LITIGATION                 : Honorable Marianne O. Battani
 ____________________________________:
                                      :
 In Re: WIRE HARNESS CASES            :
 ____________________________________:
                                      :
 THIS RELATES TO:                     : 2:12-cv-00101-MOB-MKM
 ALL DIRECT PURCHASER CASES           :
 ___________________________________ :

          SETTLEMENT CLASS COUNSEL’S REPORT ON DISSEMINATION
          OF NOTICE OF PROPOSED SETTLEMENTS WITH G.S. ELECTECH
         AND TOKAI RIKA DEFENDANTS AND CLASS MEMBERS’ RESPONSE

        Settlement Class Counsel submit the following report concerning the dissemination of notice

 pursuant to this Court's Orders of October 21, 2016 (2:12-cv-00101, Doc. Nos. 319, 320) (the

 “Notice Orders”), and Settlement Class members’ response to the notice program. As described

 more fully below, notice was disseminated in accordance with the Court’s Orders. Not a single

 objection was filed to either of the proposed settlements or to Settlement Class Counsel’s request to

 use a portion of the Settlement Funds to pay for litigation expenses, and only one opt-out request

 was submitted. Settlement Class Counsel respectfully submit that the absence of objections and

 small number of opt-outs militate strongly in favor of approval of the proposed settlements, and the

 litigation expense request.

 I. DISSEMINATION OF NOTICE TO THE CLASSES

        A declaration by Guy J. Thompson, a Project Manager employed by Epiq Class Action &

 Claims Solutions (“Epiq”), the Notice and Claims Administrator retained by Direct Purchaser
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 Plaintiffs, describing the dissemination of notice to potential Settlement Class members is attached

 hereto as Exhibit 1.

         Pursuant to the Court’s Notice Orders, on November 10, 2016, Epiq caused 3,874 copies of

 the Notice of Proposed Settlement of Direct Purchaser Class Action With G.S. Electech and Tokai

 Rika Defendants and Hearing on Settlement Approval (the “Notice”) to be mailed to potential

 Settlement Class members by first class mail, postage prepaid. Exhibit 1 at ¶ 6. Epiq also re-mailed

 returned notices for which updated addresses were obtained. Id. at ¶ 7. In addition, a copy of the

 Notice was (and remains) posted online at www.autopartsantitrustlitigation.com, a website dedicated

 to this litigation. Id. at ¶ 10.

         Also in accordance with the Notice Orders, the Summary Notice of Proposed Settlements of

 Direct Purchaser Class Action With G.S. Electech and Tokai Rika Defendants and Hearing on

 Settlement Approval (the “Summary Notice”) was published in one edition of Automotive News, and

 in the national edition of The Wall Street Journal, on November 21, 2016. Id. at ¶ 9.

         Notice to the Direct Purchaser Settlement Class under Fed. R. Civ. P. 23 has, therefore, been

 provided as ordered by the Court.

 II. OBJECTIONS TO THE PROPOSED SETTLEMENTS AND EXPENSE REQUEST

         The Notice advised that any objection to the proposed settlements, or to Settlement Class

 Counsel’s request to use up to 20% of the Settlement Funds to pay for litigation expenses had to be

 filed with the Clerk by January 4, 2017, with copies mailed to Settlement Class Counsel and to G.S.

 Electech’s and Tokai Rika’s counsel.
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        No objections were filed with the Court or sent to Settlement Class Counsel by the January 4,

 2017 deadline, and none have been received by Settlement Class Counsel as of the date of the filing

 of this Report.

 III. REQUESTS FOR EXCLUSION

        The Notice further advised that requests for exclusion from the Settlement Classes had to be

 sent to Settlement Class Counsel and to the Settling Defendants’ counsel, postmarked no later than

 January 4, 2017.

        No requests for exclusion from the G.S. Electech Settlement Class were received. A timely

 request to opt-out of the Tokai Rika Settlement Class was submitted by the one entity, Ford Motor

 Company.1 As of this date, no additional request for exclusion from either Settlement Class has been

 received by Settlement Class Counsel.

        Settlement Class Counsel respectfully submit that, for the reasons set forth in the

 Memorandum in Support, the G.S. Electech and Tokai Rika settlements, which provide for

 settlement payments totaling $3.9 million together with substantial cooperation by the Settling

 Defendants, are fair, reasonable and adequate under the relevant criteria, and warrant final approval.

 IV. THE REACTION OF THE SETTLEMENT CLASSES SUPPORTS APPROVAL
     OF THE SETTLEMENTS AND LITIGATION EXPENSE REQUEST

        The reaction of the class has been recognized repeatedly by courts within this Circuit and

 elsewhere as a factor in evaluating the fairness, reasonableness, and adequacy of a proposed

 settlement. E.g., Sheick v. Auto. Component Carrier LLC, No. 2:09–cv–14429, 2010 WL 4136958,

 at *22 (E.D. Mich. Oct. 18, 2010) (“scarcity of objections – relative to the number of class members
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 overall – indicates broad support for the settlement among Class Members.”); In re Cardizem CD

 Antitrust Litig., 218 F.R.D. 508, 527 (E.D. Mich. 2003) (“That the overwhelming majority of class

 members have elected to remain in the Settlement Class, without objection, constitutes the ‘reaction

 of the class,’ as a whole, and demonstrates that the Settlement is ‘fair, reasonable, and adequate.’”);

 In re Delphi Corp. Sec., Deriv. & “ERISA” Litig., 248 F.R.D. 483, 499 (E.D. Mich. 2008) (small

 number of opt-outs or objections is indicative of the adequacy of the settlement); Hyland v.

 HomeServices of America, No. 3:05–CV–612–R., 2012 WL 1575310, at *7 (W.D. Ky. May 3, 2012)

 (absence of objectors weighs in favor of the settlement). Accord In re Cendant Corp. Litig., 264

 F.3d 201, 235 (3d Cir. 2001) (finding that “vast disparity between the number of potential class

 members who received notice of the Settlement and the number of objectors creates a strong

 presumption that this factor weighs in favor of the Settlement"); In re Auto. Refinishing Paint

 Antitrust Litig., 617 F.Supp.2d. 336, 342 (E.D. Pa. 2007) (“The fact that an overwhelming majority

 of the Class did not file objections is a significant element to consider in determining the overall

 fairness of the settlements.”); In re Residential Doors Antitrust Litig., No. 94–3744, Civ.A. 96–2125,

 MDL 1039, 1998 WL 151804, at *7 (E.D. Pa. April 2, 1998) (small number of exclusions and

 absence of objections “militates strongly in favor of approval” of proposed settlement).

        Individual notice of the proposed settlement was mailed to almost 3,900 potential Settlement

 Class members identified by Defendants, published in Automotive News and in The Wall Street

 Journal, and posted online. Not a single objection has been raised to either the terms of the

 proposed settlements or to Settlement Class Counsel’s request to use up to 20% of the Settlement


        1
        The three entities on whose behalf Ford requested exclusion are Ford Motor Company, Ford
 Motor Company of Canada Limited, and Ford Motor Company S.A. de D.F.
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 Funds to pay for litigation expenses, and only one opt-out request (to the Tokai Rika settlement

 only) was submitted. Such an overwhelmingly favorable response by members of the Settlement

 Classes, which include many sophisticated entities with the resources to litigate their claims

 independently, militates strongly in favor of approval of the proposed settlements and the litigation

 expense request.

 V. CONCLUSION

        Based upon the foregoing, and for the reasons set forth in Direct Purchaser Plaintiffs’ Motion

 For Final Approval of Proposed Settlements With G.S. Electech and Tokai Rika Defendants and

 Request to Utilize Part of the Settlement Funds to Pay for Litigation Expenses, and the Brief in

 support thereof, it is respectfully requested that the Court grant final approval of the proposed

 settlements and the litigation expense request.

 DATED: January 13, 2017                           Respectfully submitted,


                                                   /s/ David H. Fink
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 13, 2017, I electronically filed the foregoing paper with

 the Clerk of the court using the ECF system which will send notification of such filing to all

 counsel of record registered for electronic filing.

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